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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §             Case No: 2:15-cv-01169-RWS-RSP
                                    §
vs.                                 §             LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
.     Plaintiff,                    §             Case No: 2:15-cv-01869-JRG-RSP
                                    §
vs.                                 §             CONSOLIDATED CASE
                                    §
PERNOD RICARD USA LLC               §
                                    §
      Defendant.                    §
___________________________________ §

                                          ORDER

       On this day the Court considered the Unopposed Motion to Dismiss Pernod Ricard USA
LLC. It is therefore ORDERED that all claims by Plaintiff Symbology Innovations, LLC are
hereby DISMISSED WITH PREJUDICE, and all claims by Defendant are hereby DISMISSED
     SIGNED
AS MOOT,       this party
         with each  3rd day   of January,
                          to bear          2012.expenses and attorneys’ fees.
                                  its own costs,
       SIGNED this 12th day of July, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
